        Case 3:09-cv-01487-AWT Document 17 Filed 02/16/10 Page 1 of 1



                      UNITED STATES DISTRICT COURT

                         DISTRICT OF CONNECTICUT


COLEEN SHACKLEWOOD             :
                               :
     v.                        :          CASE NO. 3:09CV1487      (AWT)
                               :
HEALTH RECEIVABLES MANAGEMENT, :
INC., d/b/a PROGRESSIVE        :
RECOVERY TECHNIQUES            :


                                 JUDGMENT

     This action having come on for consideration of the

defendant’s motion to dismiss, before the Honorable Alvin W.

Thompson, United States District Judge, and

     The court, having considered the full record of the case

including applicable principles of law, and having filed a ruling

granting the motion without prejudice, and plaintiff was given

leave to amend their complaint within 30 days, it is therefore,

     ORDERED, ADJUDGED and DECREED that judgment be and is hereby

entered in favor of the defendant Health Receivables Management,

d/b/a Progressive Recovery Techniques.         Should the plaintiff file

an amended complaint within 30 days, the clerk will reopen the

file.

     Dated at Hartford, Connecticut, this 16th day of February,

2010.
                                         ROBIN D. TABORA, Clerk



                                         By     /s/ SLS
                                               Sandra Smith
EOD _______                                    Deputy Clerk
